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 1                                                                              JUDGE BURGESS
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT TACOMA
 9
     UNITED STATES OF AMERICA,                      )   NO. 05-5122M
10                                                  )   NO. CR05-5547FDB
                   Plaintiff,                       )
11                                                  )
                   vs.                              )
12                                                  )   ORDER GRANTING STIPULATED
   KRISTOPHER KELLY NOLAN,                          )   MOTION TO EXTEND INDICTMENT
13 SPENCER JOHN NOLAN, and                          )   DEADLINE
   TYLER LEE NOLAN,                                 )
14                                                  )
                   Defendants.                      )
15                                                  )
                                                    )
16

17
            Upon stipulation of the parties to continue the speedy indictment time to allow counsel
18
     to continue to investigate and negotiate this case, and upon the defendant’s Waiver of Right to
19
     Speedy Indictment, the Court finds that such a continuance would serve the ends of justice,
20
     and that the failure to grant such continuance in this case would deny counsel for the
21
     defendant the reasonable time necessary for effective preparation, taking into account the
22
     exercise of due diligence, therefore,
23
     //
24
     //
25
     //
26

                                                                        FEDERAL PUBLIC DEFENDER
                                                                                     1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                            Tacoma, Washington 98402
     TO EXTEND INDICTMENT DEADLINE            – 1                                            (253) 593-6710
          Case 3:05-cr-05547-BHS       Document 46     Filed 08/17/05    Page 2 of 2



 1   //
 2

 3         IT IS HEREBY ORDERED that the time to file an indictment be continued to
 4   September 26, 2005. The period of delay resulting from this continuance from August 27,
 5   2005, to September 26, 2005, is hereby excluded for speedy trial purposes under 18 U.S.C.
 6   §3161(h)(8)(A) and (B).
 7         DONE this 17th day of August, 2005.
 8

 9

10                                      /s/ Franklin D Burgess
                                      FRANKLIN D BURGESS
11                                    United States District Judge
12   Presented By:
13

14
     /s/
15   Miriam F. Schwartz
     Attorney for Defendant
16

17

18 /s/
   William Redkey
19 Assistant United States Attorney

20

21 /s/
   Phillip Brennan
22 Attorney for Tyler Nolan

23

24 /s/
   Paula Tuckfield Olson
25 Attorney for Spencer Nolan

26

                                                                     FEDERAL PUBLIC DEFENDER
                                                                                  1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                         Tacoma, Washington 98402
     TO EXTEND INDICTMENT DEADLINE          – 2                                           (253) 593-6710
